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                              UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF OKLAHOMA

ON SITE MEDICAL, PLLC                              )
                                                   )
                Plaintiff,                         )
                                                   )
- vs -                                             )   Case No. 6:14-cv-00510-RAW
                                                   )
TRAVELERS CASUALTY INSURANCE                       )
COMPANY OF AMERICA,                                )
                                                   )
                Defendant.                         )

                                         COMPLAINT

         COMES NOW the Plaintiff, On Site Medical, PLLC, and for its causes of action

against Defendant, Travelers Casualty Insurance Company of America, would inform the

Court as follows:

    1. The Plaintiff is an Oklahoma Limited Liability Company that is owned by Dr. Emory

         Hilton. Dr. Hilton is a resident of the Eastern District of Oklahoma. The business is

         located in McAlester, Oklahoma.

    2. Defendant, Travelers Casualty Insurance Company, is a Delaware insurance company

         with authority to issue insurance in Oklahoma.

    3. Travelers Casualty Insurance Company issued a commercial insurance policy to On

         Site Medical, PLLC for coverage of a Podiatry practice in McAlester, Oklahoma.

    4. The amount in controversy exceeds $75,000.

    5. On or about May 19, 2013, while the commercial msurance policy issued by

         Travelers Casualty Insurance Company of America was in full force and effect, the

         Plaintiff, and its owner, Dr. Emory Hilton, were the victims of thunderstorm damage

         to their business.    The storm produced lightening which damaged the electronic


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    equipment in the business including but not limited to an x-ray machine, computer

    server, desktop computer, laptop computer and other electronic devices.

 6. Plaintiff notified Defendant of its loss.

 7. Plaintiff contacted a computer expert to help fix the damage done to the computers

    and other equipment. The computers were not salvageable. The data from the server

    was ultimately retrieved after considerable time and expenses.

 8. Plaintiff submitted to multiple demands for information from Defendant.             They

    submitted invoices to Defendant for all of their losses including the lost computers,

    retrieval of information on the servers, lost business income and all other damages

    claimed.

 9. Defendant paid for replacement of a computer.         Defendant failed to pay for the

    business income loss, the lost server, the bills for computer experts to work on the

    system and the money spent on data retrieval specialists.

 10. The acts and failures to act on the part of the Defendant constitute bad faith.

    Defendant has failed to properly and in good faith consider the full extent of the loss

    by its insured and breached its duty of good faith and fair dealing with its insured.

 11. The acts and refusal to act by Defendant constitute both a breach of contract and bad

    faith and both have caused damage to its insured which reasonably expected a timely

    and fair response by its insurance company.

 12. The acts of bad faith by Travelers Casualty Insurance Company of America include

    but are not limited to:

        a. Failure to properly investigate the loss and claim;




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        b. Failure to assist its insured in the adjusting of the loss and presentation of the

             claim;

        c. Failure to timely pay the claim of the insured;

        d. Failure to pay the amounts of loss as determined by the adjusters it hired;

        e. Failure to establish and pay the loss of income of the business when the

             business was without computers and a server with patient information for days

             which combined with the limited benefit for loss of income created a claim

             that in good faith should have been quickly adjusted and paid and which

             would not have reasonably required the insured to present much information

             to substantiate the loss;

        f.   Failure to comply with the Unfair Claims Settlement Act;

        g. Failure to pay the claim without explaining to the insured what questions, if

             any, that it had that might be causing the insurance company to withhold

             payment;

        h. Failure to tell Dr. Emory Hilton what questions Travelers Casualty Insurance

             Company of America had about the loss of income claim and all other claims

             not paid.

        i.   Reliance on unscientific data for its rejection of portions of the claim.

 13. Upon information and belief Plaintiff further alleges the handling of its claim was not

    an isolated event. Defendant has consistently handled and otherwise has approved

    company-wide practices and policies which reward and encourage systematic

    reduction, delay or avoidance of the payment of claims.




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    14. Due to the failure of Travelers Casualty Insurance Company of America to

        reasonably and timely pay the claims of its insured they should be ordered to pay the

        value of the claims, pay damages for its bad faith as well as consequential damages,

        interest, costs and attorney fees.

    15. The actions of Travelers Casualty Insurance Company of America during the

        handling of the Plaintiff's claim demonstrate it intentionally and with malice,

        breached its duty to deal fairly and in good faith. Their actions were intentional,

        malicious and consistent with an overall collective corporate goal of increasing

        profits through the systematic reduction or avoidance of claims.       The Plaintiff

        therefore seeks punitive damages in an amount in excess of $75,000 in addition to all

        other damages.

          WHEREFORE based upon the above and foregoing, the Plaintiff requests

judgment against Defendant in an amount to be determined by a jury for the causes of action

above stated, actual damages, consequential and bad faith damages, punitive damages, all of

the policy benefits Plaintiff was entitled to have received under the terms of the policy,

interest, costs and attorney fees.



       Date: September 24, 2014

                                                    Respectfully submitted,



       JURY TRIAL DEMAND                              /s/ Trevor J. Furlong
                                                    Trevor J. Furlong, OBA#20208
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